
984 A.2d 850 (2009)
411 Md. 628
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Leslie Dana SILVERMAN.
Misc. Docket AG No. 39, September Term, 2009.
Court of Appeals of Maryland.
December 8, 2009.

ORDER
Upon consideration of the petition for disciplinary or remedial action filed in the above entitled matter in accordance with Md. Rule 16-773 and the responses having been filed thereto to the show cause order, it is this 8th day of December, 2009
ORDERED, by the Court of Appeals of Maryland, that Leslie Dana Silverman be, and is hereby, suspended for a period of sixty (60) days, effective thirty days from the date of this order, from the practice of law in the State of Maryland, and it is further
*851 ORDERED, that the Clerk of this Court shall forthwith strike the name of Leslie Dana Silverman from the register of attorneys, in this Court and shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State in accordance with Rule 16-760(e).
